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 3
                                    UNITED STATES DISTRICT COURT
 4
                                    EASTERN DISTRICT OF CALIFORNIA
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     TIMOTHY CARDENAS,                                     CASE NO.: 1:24-cv-00694-GSA
 7
                       Plaintiff,
 8                                                         ORDER GRANTING APPLICATION
            v.                                             TO PROCEED IN FORMA PAUPERIS
 9                                                         AND DIRECTING CLERK TO ISSUE
     Commissioner of Social Security,                      NEW CASE DOCUMENTS
10

11                     Defendant.

12                                                         (Doc. 2)

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            Plaintiff moves to proceed in forma pauperis under 28 U.S.C. § 1915. Doc. 2. Plaintiff’s
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     declarations in the motion satisfy the requirements under § 1915 to proceed in forma pauperis.
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            Accordingly, it is ORDERED that:
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            1.     Plaintiff’s application to proceed in forma pauperis (Doc. 2) is GRANTED.
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            2.     The Clerk of Court is DIRECTED to issue new case documents including: 1)
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                   summons, 2) Order re Consent or Request for Reassignment, 3) notice and form of
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                   consent/decline to proceed before a magistrate judge; 4) scheduling order.
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22   IT IS SO ORDERED.

23      Dated:    June 14, 2024                 /s/ Gary S. Austin_______________
24                                                  UNITED STATES MAGISTRATE JUDGE

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